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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

__________________________________________
MERITOR HEAVY VEHICLE SYSTEMS, LLC )
                                           )
                  Plaintiff,               )
                                           )              Case No. ________________
      v.                                   )
                                           )
QUIMMCO, S.A. DE C.V., and                 )              Honorable _______________
SISTEMAS AUTOMOTRICES DE MEXICO,           )
S.A. DE C.V.                               )
                                           )              Jury Trial Demanded
                  Defendants.              )
                                           )


                                        COMPLAINT

         Plaintiff Meritor Heavy Vehicle Systems, LLC (“MHVS”), as its Complaint for

declaratory relief and breach of contract against Defendants Quimmco, S.A. DE C.V.

(“Quimmco”) and Sistemas Automotrices De Mexico, S.A. DE C.V. (“Sisamex”), alleges:

                               PRELIMINARY STATEMENT

         1.     MHVS sues to stop its Mexican joint venture partner Quimmco and the joint

venture company Sisamex from usurping business that MHVS and Quimmco agreed was

reserved to MHVS.

         2.     MHVS is an American manufacturer and a major global supplier of axles, brakes,

and drive shafts used in commercial vehicles, including trucks, trailers, and buses. MHVS’

customers include commercial vehicle original equipment manufacturers (“OEMs”) around the

world.

         3.     As the sole Shareholders of the joint venture company Sisamex, MHVS and

Quimmco designed the JV to play a specific and contractually-limited role in making and
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assembling axles and other products that MHVS sells to OEMs in Mexico. MHVS and

Quimmco agreed that MHVS would design, manufacture and sell specific axle and other

components to Sisamex; that Sisamex would manufacture certain specifically-defined

components; and that Sisamex would then assemble these MHVS manufactured components

and Sisamex manufactured components into certain finished products, e.g., completed axles that

Sisamex would sell to MHVS for resale to MHVS’ customers in Mexico.

       4.     A Shareholders Agreement between MHVS and Quimmco defines the scope of

Sisamex’s business and prohibits any expansion of the business without the mutual consent of

the two Shareholders (the “Shareholders Agreement”).

       5.     The Shareholders Agreement contemplates certain circumstances in which MHVS

grants consent to Sisamex to manufacture itself or outsource to third parties production of

certain MHVS components.

       6.     A component supply agreement between MHVS and Sisamex called “Supply

Agreement C” obligates Sisamex to purchase its requirements for specific components—

including some of those at issue in this case—from MHVS.

       7.     This dispute involves MHVS-manufactured components of two MHVS products:

the “14x” and the “185” axles. In each case, the Shareholders Agreement between MHVS and

Quimmco expressly does not give Sisamex the right to manufacture the disputed components

itself, and Supply Agreement C between MHVS and Sisamex does obligate Sisamex to

purchase those components from MHVS.

       8.     MHVS has invested significant resources to develop the intellectual property,

technical expertise, production capacity, and skilled labor force required to manufacture the

components at issue.



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       9.      The Defendants refer to having Sisamex manufacture the MHVS axles at issue, or

components thereof, without MHVS’ consent “insourcing.”

       10.     The Defendants refer to having third parties manufacture the MHVS axles at

issue, or components thereof, without MHVS consent “outsourcing.”

       11.     In correspondence and communications with MHVS, Defendants have stated their

intent to have Sisamex “insource” (manufacture) the MHVS 14x and 185 axles or components

thereof, and thereby desource MHVS, in breach of the Shareholders Agreement and Supply

Agreement C.

       12.     In correspondence and communications with MHVS, Defendants have stated their

intent unilaterally to expand the scope of Sisamex’s business eventually to take over all of

MHVS’ component manufacturing for products that MHVS sells to OEMs in Mexico, in breach

of the Shareholders Agreement and Supply Agreement C.

       13.      In correspondence and communications with MHVS, Defendants have also

stated their intent to “outsource” some production of components in breach of the Shareholders

Agreement and Supply Agreement C.

       14.     Defendants are in actual and anticipatory breach of the Shareholders Agreement

and Supply Agreement C by attempting to seize MHVS’ business related to the 14x and 185

axle or components thereof without MHVS’ consent and over its objection in breach of the

terms of those agreements.

                                           PARTIES

       15.     MHVS is a limited liability company organized under the laws of the State of

Delaware. MHVS supplies axles, brakes, and other products and related components to

commercial vehicle manufacturers.



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         16.    Quimmco is a corporation organized under the laws of the United Mexican States

and is the holding company of a Mexican industrial conglomerate. Quimmco and its affiliates

are engaged in various industrial and commercial activities in Mexico.

         17.    Sisamex is a corporation organized under the laws of the United Mexican States

and is jointly owned by Quimmco and MHVS. The Shareholders Agreement defines and limits

Sisamex’s business.

         18.    Quimmco owns 50 percent plus one share of the stock of Sisamex, and MHVS

owns 50 percent minus one share of Sisamex’s stock.

                                  JURISDICTION AND VENUE

         19.    MHVS is a Delaware LLC with its principal place of business in Troy, Michigan.

The sole member of MHVS is Meritor, Inc., an Indiana corporation with its principal place of

business in Troy, Michigan.

         20.    Quimmco and Sisamex are citizens of Mexico, a foreign state.

         21.    The amount in controversy exceeds $75,000.

         22.    This court has subject matter jurisdiction under 28 U.S.C. § 1332(a).

         23.    Quimmco and Sisamex have each specifically consented to personal jurisdiction

in this district and to this venue. In Section 9.12(i) of the Shareholders Agreement, Quimmco

and MHVS agreed that in the event of a claimed breach of Article 2 (the provision at issue

here):

         Each of the Parties hereby irrevocably submits to the exclusive jurisdiction of the
         federal court sitting in the City of Chicago, Illinois as to such action, suit or
         proceeding, and irrevocably accepts for itself and in respect of its property,
         generally and unconditionally, jurisdiction of the aforesaid court as to such action,
         suit or proceeding. Each of the Parties irrevocably waives, to the fullest extent it
         may effectively do so under applicable law, any objection which it may now or
         hereafter have to the laying of venue of any such action, suit, or proceeding
         brought in any such court and any claim that any such suit, action or proceeding
         brought in any such court has been brought in an inconvenient forum.

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       24.    Sisamex and MHVS agreed to an identical consent to jurisdiction and venue in

Section 11.16(i) of Supply Agreement C.

                                        BACKGROUND

       25.    MHVS is a wholly-owned subsidiary of Meritor, Inc., which is headquartered in

Troy, Michigan. MHVS traces its history to 1909, when Timken Detroit Axle was formed in

Detroit, Michigan. Today, MHVS is the world’s largest independent manufacturer of axles for

commercial vehicles, including trucks and trailers.

       26.    MHVS manufactures and sells its products to OEMs and other customers around

the world, including Volvo, Daimler Truck, Navistar and PACCAR. MHVS has developed

valuable technical, engineering, and production expertise that allows it to offer customers

products that provide greater strength at lighter weights, increasing the payloads and operating

efficiencies of the vehicles its customers manufacture. MHVS has invested significant amounts

of money to develop its products and manufacturing capabilities.

       27.    MHVS has production facilities around the world, including in the United States

and Mexico.

A.    MHVS And Quimmco Restructure The Dirona Joint Venture To Create Sisamex

       28.    In 1975, Meritor’s predecessor Rockwell International Corporation contracted

with two Mexican governmental entities to create a joint venture called Dirona, S.A. (“Dirona”).

       29.    MHVS and Quimmco are the successors of Rockwell and the Mexican

governmental entities, respectively. Immediately before MHVS and Quimmco agreed to

restructure Dirona in 2002, MHVS owned 40% of the Dirona joint venture and Quimmco

owned 60%.

       30.    Beginning in approximately 2001, Quimmco and MHVS began negotiations to

restructure the Dirona joint venture.

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       31.    Those negotiations led to the execution of a “Shareholders Agreement (For

Restructuring The Scope of Dirona’s Business)” dated October 25, 2002 between MHVS and

Quimmco. In return for payments by MHVS of over $11 million and other consideration,

Quimmco transferred some of its shares to MHVS to increase MHVS’ stake and the JV was

renamed Sistemas Automotrices De Mexico S.A. DE C.V., called “Sisamex.”

       32.    In the Dirona restructuring negotiations, Quimmco would not agree to 50/50

ownership, insisting that it needed to remain a nominal majority owner for Mexican tax

purposes. As a result, Quimmco holds one share more than 50% of Sisamex’s stock: Quimmco

owns 195,001 shares of Series A stock and MHVS owns 194,999 shares of Series B stock.

       33.    Because Quimmco insisted on remaining the majority Shareholder, MHVS

demanded and Quimmco agreed to provisions throughout the Shareholders Agreement and the

related Supply Agreements to protect MHVS as the minority shareholder. Those safeguards

prevent Quimmco from using its single share dominance to change Sisamex’s agreed-upon

scope of business without MHVS’ consent.

       34.    MHVS and Quimmco agreed that the two entities together as Shareholders, acting

by mutual consent, would be the ultimate authority over the Sisamex business; that Sisamex’s

business would be specifically defined and limited by the Shareholders Agreement; and that any

expansion or change of that business scope would require the consent of both Shareholders.

B.    The Board Of Directors

       35.    Under the Shareholders Agreement, the Board of Directors of Sisamex is

composed of four directors appointed by Quimmco and four appointed by MHVS. Each

Shareholder must designate two members of its own executive management to sit on the Board,

ensuring that both Shareholders will have a strong voice in the direction of the joint venture

company. (Shareholders Agmt. § 3.5.2(a)(i).)

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        36.    The Shareholders Agreement requires that any matter presented to the Board of

Directors be approved by six Directors. (Id. § 3.5.2(d).) Taken together, the equally-sized

Board delegations and a supermajority requirement prevent Quimmco from using its one share

majority position to control Sisamex over MHVS’ objection.

        37.    The Shareholders Agreement specifies twenty-one different categories of

activities that may not be undertaken by Sisamex on its own initiative and that instead require

the approval of the Board of Directors (and, in some cases, additional approval by the

Shareholders). (Id. § 3.5.2(e)(i)-xxi).) In addition, Shareholder approval is required as to each

Sisamex Business Plan that changes the scope of Sisamex’s business and any amendment or

modification to an approved Business Plan that changes the scope of Sisamex’s business. (Id.

§ 3.5.1(a)(viii).)

        38.    The Shareholders Agreement provides that, at the request of any director, any

matter which would otherwise require approval by the Board of Directors “shall instead be

submitted for approval by the Shareholders.” (Id. § 3.5.2(f).) This ensures that the

Shareholders remain the ultimate decision-makers over Sisamex’s affairs.

C.     The Shareholders

        39.    As noted above, the Shareholders Agreement reserves authority over the scope of

the JV’s business jointly and exclusively to MHVS and Quimmco. Under Section 3.5.1(a)(viii),

the joint approval of the Shareholders is required for “[a]ny change in the business of [Sisamex]

or any manufacture or sale of any products other than as contemplated in Section 2.1(b).” (Id.)

        40.    As the shareholders, Quimmco and MHVS are each entitled to cast one vote for

each share of Sisamex stock they own as Series A and B shareholders, respectively. Critically,

however, the affirmative vote of 75%, collectively, of both series of shares is required for

shareholder approval of resolutions. Thus, the parties ensured that neither Quimmco’s status as

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a Series A Shareholder, nor its one-share majority, would be sufficient to unilaterally carry a

Shareholder vote. Instead, the mutual agreement of both Shareholders is required.

       41.    Under Section 3.10 of the Shareholders Agreement, if the Shareholders are not

able to agree on a matter that requires their approval, the matter must first be presented at two

Shareholder meetings, then referred to the chief executive officers of each Shareholder for good

faith negotiation. (Id., § 3.10(a)-(b).) If the CEOs are unable to reach agreement, then the

status quo holds: neither party has the right to litigate or arbitrate the merits of “whether any

action taken or not taken by the Board of Directors or the Shareholders is in the best interests of

[Sisamex],” and instead “the matter shall conclusively be deemed to not have been approved by

the Shareholders or the Board of Directors, as the case may be.” (Id. § 3.10(c).)

       42.    Absent the agreement of both Shareholders, the business of the Sisamex joint

venture cannot be expanded.

D.    The Shareholders’ Proprietary Activities And The Defined Scope Of Sisamex’s
      Business

       43.    The Shareholders Agreement carefully distinguishes between the proprietary

activities of the Shareholders and the contractually-defined scope of Sisamex’s business.

       44.    Quimmco and MHVS acknowledged that each company engages in business that

it is not obligated to contribute to the JV. Thus, the Shareholders Agreement establishes a

presumption that “any Shareholder may, notwithstanding the existence of this Agreement,

engage in whatever other activities such Shareholder chooses without having or incurring any

obligation to offer any interest in such activities to [Sisamex] or to any other Party to this

Agreement.” (Id. § 3.5.1(g).)




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        45.    In Section 2.1(b) of the Shareholders Agreement captioned “SCOPE OF THE

BUSINESS,” Quimmco and MHVS agreed to confine Sisamex’s business to three specific

categories. (Id. § 2.1(b).)

        46.    The parties provided that Sisamex’s “Business” as specifically defined in

Sections 2.1(a) and 2.1(b) is the only activity Sisamex may engage in absent Shareholder

approval. Section 2.1(a) defines the term “Business” in general fashion, and Section 2.1(b) then

establishes specific limits.

        47.    The introduction to Section 2.1(b) states that “the Business of the Company

[Sisamex] and SUDISA [a Sisamex subsidiary] shall be solely as follows,” and its concluding

sentence commands that Sisamex and SUDISA “will not conduct any other business, or

manufacture, assemble or sell any other products, components or assemblies, without the mutual

agreement of the Parties,” i.e., MHVS and Quimmco. (Id. § 2.1(b), emphasis added.)

        48.    The limitations on Sisamex’s Business are driven by the careful distinction that

MHVS and Quimmco drew between “Meritor Products” and “Meritor Components.” The

Shareholders Agreement defines Meritor Products and Meritor Components as separate and

distinct categories. (See id. § 1.1. at 9-10.) Meritor Products are defined as finished products.

In contrast, Meritor Components are separately defined as “those components and assemblies

which are used in Meritor Products.” (Id. at 9, emphasis added.)

        49.    The Meritor Components at issue that the Defendants seek to “insource” or

“outsource” are expressly outside the defined scope of Sisamex’s Business. Section 2.1(b) does

not give Sisamex the right to desource MHVS and have Sisamex itself manufacture the Meritor

Components that make up Meritor Products sold in Mexico absent MHVS’ consent. In

addition, as a condition to the closing of the Shareholders Agreement, Quimmco and MHVS



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agreed that Sisamex would sign Supply Agreement C, under which Sisamex is obligated to

purchase components from MHVS. (Id. § 7.3(m).)

       50.    Supply Agreement C subdivides the category of Meritor Components into Core

Components and Non-Core Components. (Supply Agmt. C § 1.1 at 3-4, definitions.) With

respect to Core Components, Sisamex is obligated to purchase exclusively from MHVS “all of

[Sisamex’s] requirements for Core Components that [Sisamex] does not manufacture itself,”

i.e., those it was not specifically given the right to manufacture under the Shareholders

Agreement or by subsequent agreement of the Shareholders. (Id. § 2.2(a).) Core Components

are identified on Schedule 1 to Supply Agreement C. That list includes all gear sets, housings,

and carrier mountings for the 14x axle, and all carrier assemblies for any Meritor axle, including

the 14x axle, the 185 axle or any other. (Id. at Schedule 1.) The manufacture of these Meritor

Components was thus expressly reserved to MHVS.

       51.    Meritor Products are addressed in Section 2.1(b)(i) of the Shareholders

Agreement. That clause provides in relevant part that Sisamex and its subsidiary “shall be the

exclusive importers, manufacturers, assemblers and/or shipping points of, Meritor Products”

that MHVS (or its subsidiary) would sell to Mexican OEM customers. (Shareholders Agmt.

§ 2.1(b)(i).) It does not, however, grant Sisamex the right to manufacture the Meritor

Components that comprise the finished Meritor Products. Except for specific components that

are identified under the agreements, there is no affirmative grant of rights to Sisamex to

manufacture the components that make up the finished Meritor Products. Further, except as

otherwise specifically agreed between the Shareholders, production of such components is

reserved to MHVS under Supply Agreement C.




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E.     Beginning In 2009, Quimmco And Sisamex Demand To “Insource” The Production
       Of 14x Components That Were Contractually Reserved To MHVS

        52.   At no time has Sisamex manufactured 14x carrier assemblies for MHVS. The

carrier assembly is the portion of the axle assembly that transfers power from the drive shaft

through a set of gears to the wheels via the axle shaft.

        53.   Sisamex and Quimmco first demanded to take the production of 14x gears and

carrier assemblies and other axle components from MHVS in approximately 2009 as a response

to the global recession. MHVS was then, as it is now, manufacturing 14x gears and carrier

assemblies (i.e., for the 143, 145, and new generation 14x family) and selling them to Sisamex

under Supply Agreement C.

        54.   MHVS did not agree to Sisamex’s and Quimmco’s demand. MHVS had invested

heavily in the technology and the manufacturing capacity necessary to build these components.

Transferring production to Sisamex would have forced MHVS to idle, reduce or eliminate

production at its own plants and could ultimately force the closure of one or more of these

plants. Accordingly, as it was entitled to do under the Shareholders Agreement and Supply

Agreement C, MHVS declined to curtail its own production of 14x gears and carrier assemblies.

MHVS did, however, look for other ways to assist in enhancing Sisamex’s profitability.

        55.   To that end, MHVS, Quimmco and Sisamex negotiated and executed a temporary

agreement dated January 1, 2010, and running through December 31, 2013 (the “Interim

Purchasing Commitment”). Under the portions of the Interim Purchasing Commitment relevant

to this dispute, MHVS agreed to increase beyond the contractually-specified minimum levels its

purchase of specific components for another axle, the 160 family, that Sisamex was already

producing for MHVS. Quimmco and Sisamex agreed that Sisamex would not take over the

manufacture of 14x carrier assemblies, but instead reaffirmed that Sisamex would continue to


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purchase 100% of its requirements for the 14x carrier assemblies from MHVS. The Interim

Purchasing Commitment created no rights for Sisamex that would remain in effect following

expiration at the end of 2013.

F.     Quimmco And Sisamex Renew Their Attempt To Take Production From MHVS,
       Over MHVS’ Objection And Without Regard For The Contractual Limits On
       Sisamex’s Business

        56.    In the latter half of 2013, as the expiration of the Interim Purchasing Agreement

approached, Quimmco and Sisamex again asked to take the production of Meritor Components

away from MHVS. In September 2013, Quimmco Director General, Jesus L. Barrera Lozano,

wrote to Meritor, Inc.’s CEO, Ike Evans, that Quimmco was unilaterally directing Sisamex to

include in its 2014 business plan Sisamex “insourcing” (manufacturing) of the 14x gears and

carrier assemblies in order to improve Sisamex’s financial performance.

        57.    Quimmco has no authority under the Shareholders Agreement to cause Sisamex

to execute a business plan that is not approved by MHVS.

        58.    Quimmco has no authority under the Shareholders Agreement to cause Sisamex

to execute a business plan to which MHVS expressly objected because the plan incorporated a

change in the scope of the agreed-upon Business of Sisamex.

        59.    Likewise, Sisamex has no authority to carry out such a business plan absent the

mutual agreement of its Shareholders.

        60.    At a meeting of the Sisamex Board of Directors on December 2, 2013, at

Quimmco’s direction and with full knowledge of MHVS’ objection, Sisamex presented to its

Board a 2014 business plan that included Sisamex taking over production of the Meritor

Components in the 14x axles, rather than buying those components from MHVS under Supply

Agreement C.



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       61.    Sisamex’s Director General, Manuel Valdes Aguirre, confirmed that Quimmco

directed him to include that proposal in the business plan over MHVS’ objection.

       62.    The proposed business plan also incorporated the assumption that Sisamex would

purchase from third parties other Meritor Components that Sisamex was contractually obligated

to purchase from MHVS.

       63.    At the December 2, 2013, Sisamex Board Meeting, MHVS reiterated to Quimmco

and Sisamex that any change and expansion of the Business of Sisamex required Shareholder

approval. As MHVS explained, Quimmco and Sisamex’s demand for Sisamex to take over the

manufacture of 14x components and to source from third parties other components it was

obligated to purchase from MHVS was a change in the Business of Sisamex beyond the agreed-

upon scope established in the Shareholders Agreement.

       64.    On December 13, 2013, Quimmco’s Director General sent MHVS a letter on

Sisamex’s letterhead saying that absence of MHVS shareholder consent would have no effect

on Sisamex’s sourcing decision and that Sisamex management would continue to pursue

sourcing that is in the best interests of Sisamex. Though they acknowledged that MHVS had

not consented to this expansion of Sisamex’s Business, Quimmco and Sisamex stated that

Sisamex would expand manufacturing of Meritor Components even in the absence of MHVS’

approval.

       65.    In January 2014, MHVS emphasized to Quimmco and Sisamex, again, that the

components at issue were “Meritor Components” for which production was reserved to MHVS,

rather than “Meritor Products,” and that Sisamex had no right to manufacture them. MHVS

reiterated that it had not consented to the expansion of Sisamex’s Business, as required by the

Shareholders Agreement. Finally, MHVS put Quimmco and Sisamex on notice that their stated



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intent to unilaterally expand the Business by establishing production capacity for Meritor

Components at Sisamex constituted an actual or anticipatory breach of the Shareholders

Agreement and the related supply agreements.

       66.    Later in January 2014, Quimmco’s Director General responded on Sisamex

letterhead that it was Quimmco’s and Sisamex’s position that Sisamex’s right to assemble the

14x axle as a Meritor Product also entailed the right to manufacture all its component parts,

including any Core Components [which includes Meritor Components].

       67.    In February 2014, Sisamex told MHVS that Sisamex planned to “insource” first

the 185 axle carrier assemblies and eventually other components from the 185 axle. To date,

Sisamex’s involvement with the 185 axle has been minimal: Sisamex receives fully assembled

axles from MHVS, performs minor disassembly and reassembly to change a bracket, then acts

as the shipping point for those axles to OEM customers in Mexico. Nonetheless, Sisamex now

claims that it is entitled to take over the entire production process for the 185 axle.

       68.    Under the interpretation of the parties’ agreements that Quimmco and Sisamex

have propounded, Sisamex contends it is entitled to take from MHVS the production of any

Meritor Component at any time, taking MHVS’ component designs for Sisamex’s own use (or,

worse, “outsourcing” that valuable intellectual property to a third party). Thus, Quimmco and

Sisamex now contend that MHVS entered into the Shareholder and Supply Agreements with the

intent to give its Mexican joint venture and joint venture partner as much of MHVS’ U.S.

component manufacturing business as Sisamex and Quimmco unilaterally choose to take for

Sisamex even over MHVS’ objection. The Defendants’ position lacks common sense and is in

anticipatory and real breach of the parties’ agreements.




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       69.     Neither the Shareholders Agreement nor any other agreement gives Quimmco and

Sisamex the unilateral right to take away MHVS’ production without MHVS’ consent.

       70.     The Shareholders Agreement, which defines and limits the scope of Sisamex’s

Business, nowhere states that Sisamex can unilaterally decide to manufacture any Meritor

Components that it desires.

       71.     Supply Agreement C expressly states that Sisamex is to purchase Meritor

Components that are Core Components—like those at issue here—from MHVS. Finally,

Supply Agreement C provides that MHVS retains sole ownership of all designs, drawings,

software, technical information, know how, trade secrets, and other confidential and proprietary

information. (See, e.g., Supply Agmt. C § 11.3.)

       72.     The fact that Sisamex cannot appropriate MHVS’ intellectual property shows that

Sisamex cannot take over production of a Meritor Component without MHVS’ consent.

                                          COUNT I:

             DECLARATORY JUDGMENT: SHAREHOLDERS AGREEMENT

       73.     MHVS restates and alleges each and every allegation set forth in Paragraphs 1–72

above as though fully set forth herein.

       74.     MHVS and Quimmco entered into the Shareholders Agreement, which has at all

relevant times remained binding and enforceable.

       75.     An actual and justiciable controversy within the meaning of 28 U.S.C. §2201

exists between MHVS and Quimmco concerning the attempt to expand Sisamex’s Business

beyond the scope defined in Section 2 of the Shareholders Agreement.

       76.     MHVS is entitled to a declaration that (a) Quimmco has breached Section 2 of the

Shareholders Agreement and (b) Sisamex may not “insource” or “outsource” the production of



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any Meritor Component, including components of the 14x or 185 axles, without the consent of

both MHVS and Quimmco as Shareholders.

                                           COUNT II:

     BREACH OF CONTRACT: QUIMMCO – SHAREHOLDERS AGREEMENT

        77.    MHVS restates and alleges each and every allegation set forth in Paragraphs 1–76

above as though fully set forth herein.

        78.    MHVS has performed its obligations under the Shareholders Agreement.

        79.    Pursuant to the Shareholders Agreement, Quimmco undertook certain duties and

obligations as a Shareholder in the Sisamex joint venture.

        80.    Quimmco has failed to fulfill its duties and obligations.

        81.    Quimmco has breached Section 2 of the Shareholders Agreement by directing

Sisamex to “insource” or “outsource” the production of Meritor Components, including

components of the 14x or 185 axles, without the consent of MHVS as a Shareholder.

        82.    Quimmco has also breached the Shareholders Agreement by disregarding or

failing to acknowledge MHVS’ right under Section 3.5.1(a)(viii) of the Shareholders Agreement

to consent to any change in the Business of Sisamex.

        83.    As a result of Quimmco’s breaches, MHVS has incurred damages in an amount to

be quantified at trial.

                                           COUNT III

                DECLARATORY JUDGMENT: SUPPLY AGREEMENT C

        84.    MHVS restates and alleges each and every allegation set forth in Paragraphs 1–83

above as though fully set forth herein.

        85.    MHVS and Sisamex entered into Supply Agreement C, which has at all relevant

times remained binding and enforceable.

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       86.     An actual and justiciable controversy within the meaning of 28 U.S.C. § 2201

exists between MHVS and Sisamex concerning Sisamex’s obligations under Sections 2.1 and

2.2 of Supply Agreement C.

       87.     MHVS is entitled to a declaration that (a) Sisamex is in breach of Section 2 of

Supply Agreement C; (b) pursuant to Sections 2.1 and 2.2 of Supply Agreement C, Sisamex

must purchase from MHVS all of its requirements for Core Components, unless and until the

Shareholders of Sisamex have mutually agreed to change Sisamex’s Business; and (c) that the

14x axle components and 185 axle components, including carrier assemblies, that Sisamex has

stated it intends to “insource” (manufacture) are “Core Components” as defined in Supply

Agreement C.

                                          COUNT IV:

             BREACH OF CONTRACT: SISAMEX - SUPPLY AGREEMENT C

       88.     MHVS restates and alleges each and every allegation set forth in Paragraphs 1–87

above as though fully set forth herein.

       89.     MHVS has performed its obligations under Supply Agreement C.

       90.     Pursuant to Supply Agreement C, Sisamex undertook the obligation to purchase

from MHVS all of its requirements for Meritor Components defined as “Core Components.”

       91.     Sisamex has stated that it is actively initiating its own manufacture of certain Core

Components, including 14x and 185 carrier assemblies and other axle components, thereby

changing the scope of Sisamex’s Business without the approval of MHVS as a Shareholder in

contravention of Sections 2 and 3 of the Shareholders Agreement.

       92.     Sisamex is in breach of Section 2 of Supply Agreement C as Sisamex has failed to

comply with or is threatening to refuse to comply with its purchase obligations under Supply

Agreement C.

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        93.    As a result of Sisamex’s actual or anticipatory breaches of Supply Agreement C,

MHVS has incurred damages in an amount to be quantified at trial.

                                    PRAYER FOR RELIEF

       WHEREFORE, Meritor hereby prays for the relief set forth above; for an award of

costs, expenses and attorneys’ fees under Section 3.5.3(b) of the Shareholders Agreement and

applicable law; and for any such other or further relief as the Court may find proper.

                                        JURY DEMAND

       MHVS demands a trial by jury on all claims so triable.



Dated: July 13, 2014                  Respectfully submitted,



                                      /s/ Peter B. Bensinger, Jr.

                                      Peter B. Bensinger, Jr. (IL Bar No. 6217347)

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